         Case 2:19-cv-00042-AM-CW Document 5 Filed 08/06/19 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

   ALEJANDRO GOMEZ NUNES,                        §                                       &
       Detainee, Uvalde Border Patrol            §
                                                                                 7   S
       Station By His Next Friend;               §
                                                 §
   LADY VANESSA MORENO                           §
   NOLASCO,                                      §
       Petitioner, As Next Friend of             §
       Alejandro Gomez Nunes,                    §
                                                 §
   v.                                            §         Civil Action No. DR-19-CV-42-AM
                                                 §
   KEVIN K. MCALEENAN, Acting                    §
   Secretary, United States Department           §
   of Homeland Security; MARK                    §
   MORGAN, Acting Commissioner,                  §
   United States Customs and Border              §
   Protection; FELIX CHAVEZ, Chief               §
   Border Patrol Agent, Del Rio Sector;          §
   CESAR ESCAJEDA, Chief Border                  §
   Patrol Agent, Uvalde Station,                 §
         Respondents.                            §




        On August 6, 2019, the Court ordered the Respondents in the above-captioned case to show

cause as to why the Detainee has not been placed in a long-term facility based on the Detainee and

the Petitioner's Petition for Writ of Habeas Corpus. (ECF Nos. 1, 4.)

        The Court now ORDERS the Detainee and the Petitioner to serve the Respondents no later

than August 9, 2019. The Respondents are ORDERED to respond to the show cause order no

later than   3   days from the date of service. The Court EURTHER ORDERS the Detainee and

Petitioner to notify the Court when the Respondents have been properly served.
        Case 2:19-cv-00042-AM-CW Document 5 Filed 08/06/19 Page 2 of 2



       Finally, the Court ORDERS counsel for the Petitioner, Ms. Karen Hoffman, to file her

motion for pro   hac vice   admission no later than August 9, 2019.

       SIGNED on this         6     day of August, 2019.




                                               United States District Judge




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